Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 1 of 13
Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 2 of 13
Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 3 of 13
Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 4 of 13
Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 5 of 13
Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 6 of 13
Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 7 of 13
       Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 8 of 13




                IN THE SUPERIOR COURT OF HART COUNTY
                           STATE OF GEORGIA

BECHARD HODGIN,                                              Civil Action File No.
                                                             20HV00469M
            Plaintiff,
v.

WALMART, INC.,

            Defendant.
                              /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WALMART, INC. (erroneously named) and makes

this Answer to Plaintiff's Complaint as follows:

                                   FIRST DEFENSE

      Walmart Inc. is not the proper defendant.

                                  SECOND DEFENSE

      Jurisdiction is not proper as to Walmart Inc.

                                  THIRD DEFENSE

      Venue is not proper as to Walmart Inc.

                                  FOURTH DEFENSE

      Plaintiff has failed to join in indispensable party.

                                   FIFTH DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief


                                                                              Page -1-
       Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 9 of 13




can be granted.

                                 SIXTH DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                               SEVENTH DEFENSE

      Plaintiff was not in the exercise of ordinary care for his own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

himself; and on account thereof, Plaintiff is not entitled to recover from Defendant.

                                EIGHTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                NINTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                TENTH DEFENSE

      Plaintiff's claims are barred by the applicable statutes of limitation.

                              ELEVENTH DEFENSE

      Plaintiff's claims are barred by laches.



                                                                                Page -2-
      Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 10 of 13




                               TWELFTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant lacks sufficient knowledge and information to either admit or deny

the allegations contained in paragraph 1 of Plaintiff's Complaint.

                                         2.

      Defendant denies the allegations contained in paragraph 2 of the Plaintiff's

Complaint.

                                         3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's

Complaint.

                                         4.

      Defendant denies the allegations contained in paragraph 4 of the Plaintiff's

Complaint.

                                         5.

      Defendant denies the allegations contained in paragraph 5 of the Plaintiff's

Complaint, including subparagraph a., b., c., d., and e., thereof.




                                                                         Page -3-
       Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 11 of 13




                                           6.

      Defendant incorporates herein by reference the answers of paragraphs 1

through 6 above as if more fully set forth herein at length.

                                           7.

      Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint, including subparagraphs a., b., c., d., e., f., and g., thereof.

                                           8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.

                                           9.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                          10.

      Defendant denies Plaintiff's prayer for relief, including all subparts thereof.

      WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.




                                                                              Page -4-
      Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 12 of 13




                                   McLAIN & MERRITT, P.C.



                                   /s/ Howard M. Lessinger
                                   Howard M. Lessinger
                                   Georgia Bar No. 447088



                                    /s/ Nicholas E. Deeb
                                   Nicholas E. Deeb
                                   Georgia Bar No. 117025
                                   Attorneys for Defendant
                                   WALMART, INC.

3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




                                                                    Page -5-
      Case 3:21-cv-00015-CDL Document 1-2 Filed 02/19/21 Page 13 of 13




                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WALMART, INC. has this day been filed and served upon

opposing counsel via Peach Court E-File and to pro se Plaintiff Bechard Hodgin

via US mail with proper postage affixed to:

Bechard Hodgin
357 Kristy Ct.
Bowersville, GA 30516



      This the 19th day of February, 2021.



                                     McLAIN & MERRITT, P.C.



                                     /s/ Howard M. Lessinger
                                     Howard M. Lessinger
                                     Georgia Bar No. 447088
                                     Attorney for Defendant
                                     WALMART, INC.
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
(404) 364-3138 (fax)
hlessinger@mmatllaw.com




                                                                        Page -6-
